        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    1 ofPass
                                                                                        Advance 8 Page ID #:38331

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    Disability Access Service (DAS)
    Learn more about how this service works and
    the exciting new features that are now
    available.
                                                                   EXHIBIT "3"
https://disneyworld.disney.go.com/guest-services/disability-access-service/                                                                           1/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    2 ofPass
                                                                                        Advance 8 Page ID #:38332




      Accommodating Guests with Disabilities

      Disney Parks have an unwavering commitment to providing a welcoming, inclusive environment
      and accessible experiences for our Guests. As part of this commitment, Disability Access Service
      (DAS) is a program offered at Walt Disney World theme parks to assist Guests who have difficulty
      tolerating extended waits in a conventional queue environment due to a disability.

      View Frequently Asked Questions.




      Important Pre-Registration and DAS Advance Planning Update

      Eligible Guests can now pre-register for DAS Advance virtually with a Cast Member, using live
      video chat. Please note that you may pre-register as soon as 30 days in advance of a park visit, but
      no less than 2 days before arrival.

      During the registration chat, you will be able to work with a Cast Member to book up to 2 one-
      hour return windows for select experiences using our new DAS Advance planning option (you may
      also make additional DAS selections on the day of your visit). Please note that all park visits must
      be within 30 to 2 days of the live chat. Learn more.




      Top Things to Know About DAS


              DAS is intended for Guests who have difficulty tolerating extended waits in a conventional
              queue environment due to a disability.


                                                                   EXHIBIT "3"
https://disneyworld.disney.go.com/guest-services/disability-access-service/                                         2/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    3 ofPass
                                                                                        Advance 8 Page ID #:38333
              DAS doesn’t provide immediate access to experiences, but rather allows Guests to request a
              return time for a specific experience that is comparable to the current standby wait. This
              allows the Guest using DAS to enjoy other experiences in the park instead of physically
              waiting in the standby line.

              The Guest who is requesting to use DAS must be present during registration (in person or
              live video call) and when redeeming a DAS return time at Walt Disney World theme parks.
              The Guest using DAS doesn’t need to be present when a return time is requested at an
              attraction or any Guest Relations location.

              Once registered, DAS is valid for up to 60 days.

              Two exciting new features have been added to the DAS program: (1) the opportunity to pre-
              register via live video call and use DAS Advance pre-arrival planning and (2) a convenient way
              to receive DAS return times through the My Disney Experience app.

      Register for DAS.

      Make DAS Advance Selections.




        How It Works – DAS Return Times in 3 Simple Steps
        Step 1: Register
        There are 2 ways to register for DAS: (1) pre-arrival via live video chat or
        (2) on-site at Guest Relations.
        Read More

        Step 2: Request a Return Time
        After you’ve registered, you can request your first return time.
        Read More

        Step 3: Enjoy the Park
        On the day of your visit, have fun exploring other aspects of the park
        until you can redeem your return time.
        Read More

                                                                   EXHIBIT "3"
https://disneyworld.disney.go.com/guest-services/disability-access-service/                                         3/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    4 ofPass
                                                                                        Advance 8 Page ID #:38334
      Other Considerations

      A Guest whose disability is based on the necessity to use a wheelchair or scooter does not need
      DAS. Depending on the experience, Guests utilizing a wheelchair or scooter will either wait in the
      standard queue or receive a return time at the attraction that is comparable to the current standby
      wait. If you’re a Guest who has mobility questions or concerns, please view Services for Guests
      with Mobility Disabilities.




      Now Available: Same-Day DAS Return Time Self-Selection Tool

      In lieu of having to physically go to an experience or to a kiosk to obtain a return time from a Cast
      Member, Guests registered in the DAS program (and their party members) can now make return
      time selections right from the My Disney Experience app during the day of a park visit.

      Any member of a DAS party can obtain a return time for the whole party, but the registered Guest
      using DAS must be present when the DAS return time is redeemed. Return times do not expire,
      but a party can only hold one active return time.

      Guests can also visit Guest Relations or speak with a member of the Guest Experience Team to
      receive return times when using a mobile device is not possible.

      How to Access the DAS Return Time Self-Selection Tool
      After entering a park, open the My Disney Experience app and sign in to your Disney account. Tap
      the “More” option at the bottom right of the welcome screen. Then, tap on the Disability Access
      Service (DAS) button to enter the self-selection flow. The tool can also be accessed from attraction
      detail screens.




      Frequently Asked Questions

                                                                   EXHIBIT "3"
https://disneyworld.disney.go.com/guest-services/disability-access-service/                                         4/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    5 ofPass
                                                                                        Advance 8 Page ID #:38335
      Disney Parks have an unwavering commitment to providing a welcoming, inclusive and accessible
      environment for Guests. With the introduction of its new products and services, Disney will
      continue to fully accommodate Guests utilizing DAS as it has done in the past, plus there are
      exciting new features of the popular DAS program itself.




    General DAS FAQs

    What is Disability Access Service (DAS), and how does it work?

    How do Guests register for DAS?

    What is DAS Advance and how does it work?

    How long is DAS valid?

    Is DAS issued at one Disney theme park valid at other Disney theme parks?

    What happens if any of the statements made by a Guest in the process of
    registering for DAS are found to be not true?



    DAS Return Time FAQs

    Where do Guests utilizing DAS go to request return times?

    Can Guests now book DAS return times in the app? How does it work?

    What can Guests do during their DAS virtual wait?

    Does the Guest utilizing DAS have to be present to obtain a return time at an
    attraction or Guest Relations location?

    Does a Guest utilizing DAS have to ride the attraction at the exact return time
    listed?

    Can a Guest have more than one active DAS return time at one time?

    Can a Guest with an active DAS return time receive a boarding group for one of
    the virtual queue attractions?  EXHIBIT "3"
https://disneyworld.disney.go.com/guest-services/disability-access-service/                                         5/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    6 ofPass
                                                                                        Advance 8 Page ID #:38336
    the virtual queue attractions?



    Other DAS FAQs

    Is DAS the only service available to Guests with disabilities?

    In addition to DAS return times and DAS Advance selections, what other
    options will be available to Guests utilizing DAS to access attractions?

    Does Disney’s Guest Relations still offer help with itinerary planning?

    Where can I find more information about pre-planning?

    If a Guest’s disability is based on the necessity to use a wheelchair or scooter,
    are they eligible to receive DAS?




      Need Help?

      For additional assistance, please call Disability Services at (407) 560-2547, or send an email to
      disability.services@disneyparks.com.




     For assistance with your Walt Disney World vacation, including resort/package bookings and tickets,
                                          please call (407) 939-5277.
                      For Walt Disney World dining, please book your reservation online.
               7:00 AM to 11:00 PM Eastern Time. Guests under 18 years of age must have parent or guardian permission to call.




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https://disneyworld.disney.go.com/guest-services/disability-access-service/
                                                                           "3" Center
                                                                                                                                 6/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    7 ofPass
                                                                                        Advance 8 Page ID #:38337
                                                                               Help Center
        EPCOT                                 About Dining                                                        My Profile

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                                                                   EXHIBIT "3"
https://disneyworld.disney.go.com/guest-services/disability-access-service/                                                                    7/8
        Case
1/5/22, 7:43 PM   2:15-cv-05346-CJC-E Document      528-3Service
                                         Disability Access   Filed   01/10/22
                                                                 - Learn            Page
                                                                         more About DAS    8 ofPass
                                                                                        Advance 8 Page ID #:38338

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